CASE 0:05-cv-00597-PJS-JJG Doc. 283 Filed 11/02/07. Page1of15

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MINNESOTA

LINDQUIST & VENNUM, P.L.L.P.,
Court File No, 05-CV-597 PJS-JJG

Plaintiff,
v.
AFFIDAVIT OF
TAMIE P. SPECIALE and MARK LANTERMAN
DISPUTE RESOLUTION

MANAGEMENT, INC.,

Defendants.

Mark Lanterman, being duly sworn, states as follows:

1. My name is Mark Lanterman. I am the Chief Technology Officer for Computer
Forensic Services, Inc. located in Minnetonka, Minnesota.

2, I have reviewed two transcripts of Michael Younger’s testimony dated October
29", 2007 and October 30", 2007.

3. I have been asked to comment on two of the topics discussed by Mr. Younger.

4, The first topic concerns the appearance of items from the “CD Burning” folder
inside of the Recycle Bin. Mr. Younger states that material in the “CD Burning” folder (what he
refers to as a staging area) will end up in the recycle bin after a disk has been burned. In fact,
files and folders only end up in the recycle bin if they have been deleted by the user. They do not
appear in the recycle bin during the normal course of burning a disk. Please refer to the
screenshots in Attachment A for an illustration of this process.

5. The second topic concerns the nature of the deletions of 237 MSG files. Mr.

Younger stated there is no way of knowing when or how these messages were deleted. I have
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recovered info2 records which clearly indicate that some of these messages were deleted from
the desktop of the “TamieS” account on June 17", 2006. This would preclude the deletions
having been due to a CD burning event. Please refer to Attachment B for a list of the relevant
info2 entries.

6. I do not know whether any of these emails or files resides elsewhere on Ms.
Speciale’s computer.

7. Krass Monroe has insinuated that I have violated the confidentiality clause of our
contract and has accused me of inappropriate communications with parties to this lawsuit. This
is simply not true. I had received a legal subpoena from Mr. Breyer to produce documents and
had provided these documents to Krass Monroe (Mr. Jossart) during my initial appearance before
this Court. Subsequent to that production, I received from Mr. Breyer via email a transcript of
testimony given on October 11, 2007. Shortly after receiving that email, I received a phone call
from Mr. Breyer explaining that the Court had additional questions for me and would I review
the transcript and determine the answers for the Court. During this review, I recovered an
amount of deleted data. I presented that data to the Court during my subsequent appearance. At
no time have I had discussions with anyone from the Fruth Law Firm or Lindquist & Vennum in

which we discussed privileged information or other sensitive details as alleged by Krass Monroe.

Further Affiant sayeth not.

Ma¥k Lanterman

Subscribed and sworn to before me this
2 day of Abw.w4e— _, 2007.

Notary Public

ROBERT J. SCANLON
Notary Public
State of Minnesota
My Commission Expires
January 31, 2016

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Attachment A

Info2 prior to CD Burning:

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Web
ay Share ths folder

Other Places

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é.j My Documents
EQ Srwred Documents
My Network Places

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Attachment A

CD Burn window after burning:

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CASE 0:05-cv-00597-PJS-JJG Doc. 283 Filed 11/02/07

Attachment A

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@B Pubish this folder to the
Web

S Other Places
BD My Computer
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(2). Shared Documents
Bq My Network Paces

Date Modified

30/25/2007 19:12

Page 5 of 15

v. fed

Date Create

10/28/2007

Folder deleted manually from CD Burn folder:
CASE 0:05-cv-00597-PJS-JJG Doc. 283 Filed 11/02/07 Page 6of15
Attachment A

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Size Type “ Date Modified ~ ‘Date Create

File and Folder Tasks

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Attachment A

Recycle Bin after deletion from CD Burn Folder:

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Date translation from info2 record:
CASE 0:05-cv-00597-PJS-JJG Doc. 283

Attachment A

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Page 8 of 15

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Attachment A

Date translation from info2 record:

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CASE 0:05-cv-00597-PJS-JJG Doc. 283

Filed 11/02/07 Page 10 of 15

ATTACHMENT B

Recovered Info2 entries

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129

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130

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131

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137

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36

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306

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292

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293

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294

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295

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298
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299

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CASE 0:05-cv-00597-PJS-JJG Doc. 283 Filed 11/02/07 Page 15o0f15

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